     Case 2:12-cr-00016-WFN   ECF No. 276   filed 12/12/12   PageID.825 Page 1 of 1




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 3
                           UNITED STATES DISTRICT COURT
 4                        EASTERN DISTRICT OF WASHINGTON
 5
       UNITED STATES OF AMERICA,              )
 6                                            )     No. CR-12-016-WFN-7
                        Plaintiff,            )
 7                                            )     ORDER DENYING DEFENDANT’S
       v.                                     )     MOTION TO MODIFY RELEASE
 8                                            )     CONDITIONS
       TYLER SCOTT McKINLEY,                  )
 9                                            )             MOTION DENIED
                        Defendant.            )              without prejudice
10                                            )              (ECF NO. 268)

11    Date of bail review hearing: December 11, 2012.

12          Currently, Defendant is subject to one random urinalysis test

13    monthly, and he may not use alcohol or possess firearms.                 He also

14    seeks permission from Pretrial Services if it is necessary for him

15    to be away from the District. Defendant wishes to remove these

16    restrictions.

17          IT IS ORDERED Defendant’s Motion to modify, ECF No. 268, is

18    DENIED without prejudice to revisit in three months.

19          DATED December 12, 2012.

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21                             S/ CYNTHIA IMBROGNO
                          UNITED STATES MAGISTRATE JUDGE
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      ORDER DENYING DEFENDANT’S MOTION TO MODIFY RELEASE CONDITIONS - 1
